Case 3:23-cv-00903-MPS | Document 72 ‘Filed 03/07/25 Page 1of6

UNITED STATES DISTRICT COURT —EE7E=

DISTRICT OF CONNECTICUT

APPLICATION FOR AND WRIT OF EXECUTION
FINANCIAL INSTITUTION

APPLICATION
To the United States District Court for the District of Connecticut at |Ha rtford , Connecticut, in connection with

a judgment entered on 05/29/2024 . Docket No. | 3:23CV903 ( MPS ), Case name: |145 Sisson Avenue, LLC v. Aron Puretz
NAME AND ADDRESS OF JUDGMENT CREDITOR MAKING APPLICATION:

145 Sisson Avenue, LLC
91 South Main Street
Wallingford, CT

NAME(S) AND ADDRESS(ES) OF JUDGMENT CREDITOR(S):

145 Sisson Avenue, LLC
91 South Main Street
Wallingford, CT

NAME(S) AND ADDRESS(ES) OF JUDGMENT DEBTOR(S):

Aron Puretz - 309 Miller Road, Lakewood, NJ 08701-2338 also
Aron Puretz - FCI Otisville, Two Mile Drive, Otisville, NY 10963

AMOUNT OF JUDGMENT: $ |2,152,787.36
AMOUNT OF COSTS: $
AMOUNT OF INTEREST (ifapplicable):  $
TOTAL JUDGMENT AND COSTS: $2,152,787.36

TOTAL PAID ON ACCOUNT: $|0.00
TOTAL UNPAID JUDGMENT: $2,152,787.36
IF JUDGMENT DEBTOR IS A NATURAL PERSON:
IS THIS A JUDGMENT ARISING OUT OF SERVICES RENDERED AT A HOSPITAL?
No Cyes
IF THIS IS A JUDGMENT ARISING OUT OF SERVICES RENDERED AT A HOSPITAL, HAS A STAY OF A FINANCIAL
INSTITUTION EXECUTION BEEN ENTERED PURSUANT TO AN INSTALLMENT PAYMENT ORDER?

(ro (res

IF A STAY OF A FINANCIAL INSTITUTION EXECUTION HAS BEEN ENTERED, HAS THE JUDGMENT DEBTOR
DEFAULTED ON AN INSTALLMENT PAYMENT ORDER?

Co (yes (Specify) |

So 03/07/2025

Signature: 5 ofAttomey or Pa Parjyiaking Applicaton Date

Houston Putnam Lowry ct05955

Printed Name Bar Number

l280 Trumbull Street - Floor 22 860-808-4213

Street Address Phone Number

6103 ptI|@hplowry.com (Rev. 5/6/08)

City/State/Zip Email Address
Case 3:23-Cy-00903-MPS ocument 72 Filed 03/07/25 Page 2 of 6

NOTE: The provisions of section 52-367b, as amended Po ime, take precedence over these i

INSTRUCTIONS TO FINANCIAL INSTITUTION UPON RECEIPT OF A
FINANCIAL INSTITUTION EXECUTION
WHEN JUDGMENT DEBTOR IS A NATURAL PERSON

1. If any funds are removed from the judgment debtor's account pursuant to subsection (c) of section 52-367b of the general
statutes, complete section II of the Exemption Claim Form and send, forthwith, 2 copies of both this form and the Exemption
Claim Form to the judgment debtor and to any secured party that is a party to a control agreement between you and such
secured party under article 9 of title 42a of the general statutes, postage pre-paid, at the last known address of the judgment
debtor and of any such secured party with respect to the affected accounts on the records of yourinstitution.

2. Remove from the judgment debtor's account the amount of any debts due from you to the judgment debtor not exceeding the
Total Amount Unpaid as appears on page 1 of this form plus interest and other court ordered postjudgment costs or fees and
the serving officer's fee, before your midnight deadline, as defined in section 42a-4-104 of the general statutes. If electronic
direct deposits that are readily identifiable as exempt federal veterans’ benefits, social security benefits, including, but not
limited to, retirement, survivors’ and disability benefits, supplemental security income benefits or child support payments
processed and received pursuant to Title IV-D of the Social Security Act were made to the judgment debtor's account during
the thirty-day period preceding the date that the execution was served on you, you shall leave the lesser of the account
balance or one thousand dollars in the judgment debtors' account; provided nothing in this subsection shall be construed to
limit your right or obligation to remove such funds from the debtor's account if required by any other provision of law or by a
court order. The judgment debtor shall have access to such funds left in the judgment debtor's account. You may notify the
judgment creditor that funds have been left in the judgment debtor's account pursuant to this provision. Nothing herein shall
alter the exempt status of funds which are exempt from execution under subsection (a) of section 52-367b of the general
statutes or under any other provision of state or federal law, or the right of a judgment debtor to claim such exemption.
Nothing herein shall be construed to affect any other rights or obligations of the financial institution with regard to the funds in
the judgment debtor's account.

3. You must hold the amount removed from the judgment debtor's account pursuant to this execution for fifteen days from the
date you mail the copies of this form and the Exemption Claim Form to the judgment debtor and any secured party. During
such fifteen day period you must not pay the officer serving this execution.

4. If the judgment debtor returns the Exemption Claim Form or other written notice that an exemption is being claimed, and if
any secured party delivers to you written notice of such secured party's claim of a prior perfected security interest in such
deposit account, you must, within two business days of receipt of such notice, send a copy of such notice to the clerk of the
court which issued the execution. You must continue to hold the amount removed from the judgment debtor's account for
forty-five days or until a court order.is received regarding disposition of the funds, whichever occurs earlier. If no order is
received within forty-five days of the date you send a copy of the Exemption Claim Form or notice of exemption or a secured
party claim notice to the clerk of the court, you must return the funds to the judgment debtor's account.

5. If you do not receive a claim of exemption or secured party claim notice within fifteen days of the mailing to the judgment
debtor and any secured party of the execution and Exemption Claim Form you must, upon demand, forthwith pay the serving
officer the amount removed from the judgment debtor's account.

6. if no exemption claim or secured party claim notice is filed or if the court orders you to pay the serving officer an amount
removed from the judgment debtor's account not exceeding the amount due on the execution and you fail or refuse to do so,
you shall be liable in an action therefor to the judgement creditor(s) named in the execution for the amount of nonexempt
monies which you fail or refuse to pay over. If no exemption claim is filed or if the court orders you to pay the serving officer
an amount removed from the judgment debtor's account not exceeding the amount due on the execution and you fail or
refuse to do so, you shall be liable in an action therefor to the judgment creditor(s) name in the execution for the amount of
nonexempt monies which you fail or refuse to pay over, excluding funds of up to one thousand dollars which you in good faith
allowed the judgment debtor to access pursuant to subsection (c) of section 52-367b of the general statutes.

7. If you pay exempt monies from the account of the judgment debtor contrary to these instructions, or the provisions of section
52-367b of the general statutes, you shall be liable in an action therefor to the judgment debtor for any exempt monies so
paid. If you pay exempt monies from the account of the judgment debtor contrary to these instructions, or the provisions of
section 52-367b of the general statutes, you shall be liable in an action therefor to the judgment debtor for any exempt monies
so paid and you shall refund or waive any charges of fees by you, including, but not limited to, dishonored check fees,
overdraft fees or minimum balance service charges and legal process fees, which were assessed as a result of such payment
of exempt monies.
Case 3:23-cv-00903-MPS Document 72 Filed 03/07/25 Page 3 of6

INSTRUCTIONS TO FINANCIAL INSTITUTION UPON RECEIPT OF A FINANCIAL
INSTITUTION EXECUTION WHEN JUDGMENT DEBTOR IS NOT A NATURAL PERSON

You must remove from the judgment debtor's account the amount of any debts due from you to the judgment debtor not
exceeding the Total Amount Unpaid as appears on page 1 of this form, plus interest and court ordered postjudgment costs or
fees and the serving officer's fee.

Except as provided in #4 below, you must immediately pay to the serving officer the amount removed from the judgment
debtor's account. Nothing herein shall be construed to affect any other rights or obligations of the financial institution with
regard to the funds in the judgment debtor's account.

You must act on this execution according to section 42a-4-303 of the general statutes, before your midnightdeadline.

If the deposit account is subject to a security interest of a secured party, other than you, pursuant to a control agreement
between you and such secured party under article 9 of title 42a, and if any funds removed from the judgment debtor's account
pursuant to subsection (c) of section 52-367a of the general statutes you shall forthwith mail a copy of the execution when
received from the serving officer, postage prepaid, to the judgment debtor and to such other secured party at the last known
address of such parties with respect to the affected accounts on your records. You shall hold the amount removed from the
judgment debtor's account for twenty days from the date of the mailing to the judgment debtor and such other secured party,
and during such period you shall not pay the serving officer. Such other secured party shall give notice of its prior perfected
security interest in such deposit account, by delivering to the clerk of the court that issued the execution a written claim for
determination of interests in property pursuant to section 52-365c and by delivering a copy of such claim to the financial
institution upon which such execution is served.

If a written claim for determination of interests in property is made pursuant to subsection (e) of section 52-367a of the
general statutes, you shall continue to hold the amount removed from the judgment debtor's account until a court order is
received regarding disposition of the funds. If no written claim for determination of interests in property is made you shall,
upon demand, forthwith pay the serving officer the amount removed from the judgment debtor's account, and the serving
officer shall thereupon pay such sum, less such serving officer's fees, to the judgment creditor, except to the extent otherwise
ordered by a court.
Case 3:23-cv-00903-MPS Document 72 Filed 03/07/25 Page 4of6
FINANCIAL INSTITUTION EXECUTION

TO ANY PROPER OFFICER:

Whereas on said Date of Judgment the above-named Judgment Creditor(s) recovered
judgment against the above-named Judgment Debtor(s) before the above-named court for the amount
of damages, costs and fees stated above, as appears on record, whereof execution remains to be
done. These are, therefore, by AUTHORITY OF THE UNITED STATES TO COMMAND YOU:

(e) IF JUDGMENT DEBTOR IS A NATURAL PERSON

Within seven days from your receipt of this execution, make demand upon the main office of any
financial institution having its main office within your county, or if such main office is not within your
county and such financial institution has one or more branch offices within your county, upon an
employee of such a branch office, such employee and such branch office having been designated by
the financial institution in accordance with regulations adopted by the commissioner of banking, for
payment to you pursuant to section 52-367(b) of the general statutes of any nonexempt debt due said
Judgment Debtor(s), which sum shall not exceed the total unpaid judgment, costs and fees as stated
above, plus post judgment interest on the unpaid amount of said judgment from its date until the time
when this execution shall be satisfied, plus your own fee. After having made such demand you are
directed to serve a true and attested copy of this execution, together with the attached affidavit and
exemption claim form, with your doings endorsed thereon, with the financial institution officer upon
whom such demand was made. Said sum shall be received by you and applied on this execution in
accordance with the provisions of section 52-367(b) of the general statutes. You may not serve more
than one financial institution execution per judgment debtor at a time. If you have made an initial
demand within the seven-day period, and have been informed by the financial institution that the
Judgment Debtor had insufficient funds at that financial institution available for collection to satisfy
the judgment, you may make additional demands on the main office of other financial institutions or
employees of other branch offices as directed herein, provided any such additional demand is made
not later than forty-five days from your receipt of this execution.

OC IF JUDGMENT DEBTOR IS NOT A NATURAL PERSON

Make demand upon the main office of any financial institution having its main office within your
county, or if such main office is not within your county and such financial institution has one or more
branch offices within your county, upon an employee of such branch office, such employee and such
branch office having been designated by the financial institution in accordance with regulations
adopted by the commissioner of banking, for payment to you of any debt due said Judgment
Debtor(s), which sum shall not exceed the total unpaid judgment, costs and fees as stated above, plus
post judgment interest on the unpaid amount of said judgment, from its date until the time when this
execution is satisfied, plus your own fees. Said sum shall be received by you and applied on this
execution. After having made such demand you are directed to serve a true and attested copy hereof,
with your doings thereon endorsed, with the banking institution officer upon whom such demand was
made.

HEREOF FAIL NOT, AND MAKE DUE RETURN OF THIS WRIT WITH YOUR DOINGS THEREON,
ACCORDING TO LAW.

DATED AT CONNECTICUT THIS DAY OF| 20

DINAH MILTON KINNEY, CLERK BY:
| DEPUTY CLERK

Case 3:23-cv-00903-MPS Document 72 Filed 03/07/25 Page 5of6

EXEMPTION CLAIM FORM

FINANCIAL INSTITUTION EXECUTION STATE OF CONNECTICUT
JD-CV-24A Rev. 1-17 SUPERIOR COURT
C.G.S. 31-58(i), 52-3214, 52-350a, 52-352b, 52-361a, SEE INSTRUCTIONS ON BACK/PAGE 2 www.jud.ct.gov

52-367b, 29 U.S.C. 206(a)(1)

Name and address of Judgment Debtor or Attorney
(To be completed by judgment creditor or attorney)

- 7 For court use only
To: Aron Puretz, 309 Miller Road, Lakewood, NJ 08701-2338 MXMPEX

d
Aron Puretz, FCI otisville, Two Mile Drive, Otisville, NY 10963 LI

L J
Section 1 — (To be completed by judgment creditor)
Judicial Housing pecgraphical Name and address of Court umber Street, Town and Zip Code)
L_] District [] session Number U.S. District Court - 450 Main Street - Annex 135, Hartford, CT 06103
Name of case Name of Judgment Debtor Docket number
145 Sisson Avenue, LLC vs. Aron Puretz Aron Puretz 3:23-cv-00903-MPS

Section 2 — (To be completed by financial institution - see instructions on back/page 2)

Name and address of financial institution to which exemption claim (if any) is to be returned Date of mailing to Judgment Debtor

Last 4 Digits of the Account Number(s) Amount removed pursuant to execution Amount and type of readily identifiable exempt funds not removed

|_| Additional sheet(s) attached hereto and made a part hereof (if necessary).
Section 3 — Notice To Judgment Debtor

As a result of a judgment entered against you, the attached execution has been issued against funds deposited by you in the
financial institution named above. To comply with this execution, the financial institution has removed the amount of money indicated
above from the account(s) listed above.

THE MONEY IN YOUR ACCOUNT(S) MAY BE EXEMPT FROM EXECUTION - The money in your account(s) may be protected from
execution by state statutes or by other laws or regulations of Connecticut or of the United States. A checklist and a description of the most
common exemptions established by law are set forth below.

HOW TO CLAIM AN EXEMPTION ESTABLISHED BY LAW. If you wish to claim that the money in your account(s) is exempt by law
from execution, you must fill out and sign before a proper official the Affidavit of Claim of Exemption below and mail or deliver this
exemption claim form to the financial institution at the above address. This form must be received by the financial institution no later than
15 days from the DATE OF MAILING TO THE JUDGMENT DEBTOR indicated above.

Upon receipt of this form the financial institution will send it to the Superior Court and the court clerk will notify you and the judgment
creditor of the date on which a hearing will be held by the court to determine the issues raised by your claim.

SECTION 4 — AFFIDAVIT OF CLAIM OF EXEMPTION ESTABLISHED BY LAW

I, the judgment debtor named above, claim and certify under the penalty of false statement that the money in the above account
is exempt by law from execution as follows: ("X" all that apply to the funds contained in this account)

[_] Social Security benefits (section 52-352b(g)) [_] Private pension, trust, retirement, or medical savings

[_] Unemployment benefits (section 52-352b(g)) account payments (sections 52-321a, 52-352b(m))

[_] Worker's Compensation benefits (section 52-352b(g)) [] Health or disability insurance payments (section 52-352b(e))
L] Veteran's benefits (section 52-352b(g)) [_] An amount in the bank not to exceed $1000 (section 52-352b(r))
[] Public Assistance payments (section 52-352b(d)) [] Other claim of exempt funds (Explain basis for claim of exemption):

[_] Wages earned by a public assistance recipient under an
incentive earnings or similar program (section 52-352b(d))

[_] Court-ordered child support payments (section 52-352b(h)) Amount claimed to be exempt

[| Alimony and support other than child support* (section 52-352b(n)) if less than the entire amount:
*See Note Regarding Exemption for Alimony and Support on back/page 2.

Signed Date signed Telephone number

Complete mailing address of Judgment Debtor

Subscribed and sworn Date At (Town) Signed (Notary Public, Commissioner of Superior Court)
to before me on:

Page foe [Reset Form 1
Case 3:23-cv-00903-MPS Document 72 Filed 03/07/25 Page 6of6

Instructions

To Financial Institution

1. Complete section 2 of this form and (1) send 2 copies

of this form and the financial institution execution form
to the judgment debtor and to any secured party that is
party to a control agreement between the financial
institution and such secured party under article 9 of
title 42a pursuant to section 52-367b of the General
Statutes and (2) mail notice to judgment debtor as
required by 31CFR212.6 and 212.7.

2. If this claim of exemption is returned completed, fill out

section 6 of this form and mail, within two business
days, to the issuing clerk's office at the address of
court indicated on the front side. See additional

To Clerk

. Attach this form to each financial institution execution issued in a civil or

family matter against a judgment debtor that is a natural person.

. Deliver the execution along with this form to the judgment creditor

requesting the execution.

. If judgment debtor completes and returns this form claiming an

exemption, enter the appearance of the judgment debtor with address
set forth on page 1.

. Set matter down for short calendar hearing.
. Complete section 7 below.
. Send file-stamped copy of this form to judgment debtor and judgment

creditor.

. After hearing, send copy of any order entered to the financial institution.

instructions on the financial institution execution form.

Note Regarding Exemption for Alimony and Support

Alimony and Support, other than child support, are exempt only to the following extent:

The amount of alimony and support, other than child support, that may be subject to levy or other withholding for payment of a judgment is
the lesser of (1) twenty-five percent of the individual's disposable earnings for that week, or (2) the amount by which the individual's
disposable earnings for that week exceed forty times the higher of (A) the federal minimum hourly wage under Section 6(a)(1) of the Fair
Labor Standards Act of 1938, U.S.C. Title 29, Section 206(a)(1), or (B), the state minimum hourly wage under subsection (i) of Section
31-58, in effect at the time the earnings are payable.

Section 52-350a(4) of the Connecticut General Statutes defines "disposable earnings" as that part of the earnings of an individual remaining
after the deduction from those earnings of amounts required to be withheld for payment of federal income and employment taxes, normal
retirement contributions, union dues and initiation fees, group life insurance premiums, health insurance premiums and federal tax levies.

Section 5 — Proper Officer Must Complete This Section

Date of service on financial institution

Name and title of proper officer Telephone number

Section 6 — (To be completed by financial institution upon return of exemption claim form)
Telephone number

Date claim received Date mailed to court Name of financial institution

Section 7 — Notice To Judgment Debtor And Judgment Creditor

The assets in dispute are being held for (1) forty-five days from the date the exemption claim form was received by the financial
institution designated on the front of this form or (2) until disposition is ordered by the court at a hearing to be held at short
calendar on the date set forth below, whichever occurs earlier.

Date of hearing Time of hearing |_| a.m. Courtroom

[| p.m.

Signed (Assistant Clerk) Date signed

Order

The Court/Magistrate, having held a hearing to determine the issues raised by this claim, hereby orders that:

By the Court (Name of Judge/Family Support Magistrate/Magistrate)
[| Magistrate

[_] Judge [_] Fsm

Signed (Judge/Family Support Magistrate/Magistrate/Assistant Clerk) Date signed

ADA NOTICE
The Judicial Branch of the State of Connecticut complies with the Americans with Disabilities Act (ADA). If you need a reasonable
accommodation in accordance with the ADA, contact a court clerk or an ADA contact person listed at www.jud.ct.gov/ADA.

JD-CV-24A 2) Rev. 1-17 -
(page?) Rev" [Print Form | Page Daf? [ Reset Form ]

